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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

DYNEX CAPITAL, INC.,

Plaintiff,
v_ Civil Action No. 3:18cv332
MICHAEL J. QUILLING,
in his capacity as Receiver for
American Realty Trust, Inc.,

Defendant.

MEMORANDUM OPINION
This matter comes before the Court on Defendant, Michael J. Quilling, in his capacity as

Receiver for American Realty Trust, Inc.’s, (“Quilling”), Motion to Dismiss and Unopposed
Motion For Leave to Supplement the Record (the “Motion to Supplement the Record”).l (ECF
Nos. l4, 20.) In his Motion to Dismiss, Quilling asserts three grounds for relief: (l) that the
Court lacks personal jurisdiction over Quilling under F ederal Rule of Civil Prooedure lZ(b)(Z);

(2) that the Court must abstain from ruling on the suit and transfer it to the United States Distn`ct

Court for the Northern District of Texas, or dismiss the suit pursuant to the Anticipatory Suit

 

' Quilling seeks to supplement the record with the Declaration of Michael L. Guabert and
the attached exhibits. Guabert’s declaration details the files and other discovery located in
Texas, which may support this action. In support of the Motion to Supplement, Quilling states
that the “matters [in the Motion to Supplement] have arisen since the filing of the Receiver’s
Reply to Dynex[ Capital, Inc.’s] Response to the Motion to Dismiss and make the present record
incomplete.” (Mot. Suppl. 3, ECF No. 20.) Quilling claims that “[b]oth counsel [for Dynex
Capital, Inc. and Dynex Commercial] are unopposed to the relief requested, however, Dynex
would like to reserve the right to respond to the motion if it determines it needs to do so.” (Id.
4.) Neither Dynex Capital, Inc. nor Dynex Commercial filed a response and the time to do so
has expired.

Because Quilling provided notice to Dynex Capital, Inc., who expressed its agreement by
filing no opposition to the supplement, and because he seeks to add information that arose after
he filed his Reply, the Court will grant the Motion to Supplement See Fed. R. Civ. P. l$(d).
(ECF No. 20.)

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Exception to the First-to-File Rule; and, (3) that Plaintif`f` Dynex Capital, Inc. (“Dynex Capital”)
failed to state a claim upon which relief can be granted under Rule 12(b)(6). (Mot. Dismiss l,
ECF No. 14.) Dynex Capital responded and opposed the Motion to Dismiss on all grounds,
(ECF No. 18), and Quilling replied, (ECF No. 19).

The Court dispenses with oral argument because the materials before it adequately
present the facts and legal contentions, and argument would not aid the decisional process. The
Court exercises jurisdiction over Plaintif`fs’ federal claims pursuant to 28 U.S.C. § 1332.2 For
the reasons that follow, the Court will grant the Motion to Supplement the Record. Utilizing
Brz`llhart abstention, the Court will also grant the Motion to Dismiss and abstain from ruling on
Dynex Capital’s request for declaratory relief`.

I. Factual and Procedural Histo§y3

Two decades of litigation in both 'l`exas state and Texas federal courts, which resulted in

multiple multi-million-dollar judgments, led to Dynex Capital filing the declaratory judgment

action currently pending before this Court. To accurately portray this case, the Court must

 

2 “The district courts shall have original jurisdiction of all civil actions where the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between . . . citizens of different States.” 28 U.S.C. § l332(a). Dynex Capital is a Virginia
corporation With its principal place of business in Virginia. Quilling is a citizen of Texas. The
declaratory relief`, attomeys’ fees and costs sought in the Complaint exceed $75,000.

3 Quilling brings the Motion to Dismiss pursuant to Rule 12(b)(2) and Rule l2(b)(6), as
well as the Anticipatory Suit Exception to the First-to-File Rule. On a Motion to Dismiss
pursuant to Rule 12(b)(2), the Court will “construe all relevant pleading allegations in the light
most favorable to the plaintiff, assume credibility, and draw the most favorable inferences for the
existence of jurisdiction.” Brooks v. Motsenbocker Advanced Devs., Inc., 242 F. App’x 889, 890
(4th Cir. 2007). The Court “may presume that any uncontradicted evidence submitted by either
party is true.” Reynola's Foz‘l Inc. v. Pai, No. 3:09cv657, 2010 WL 1225620, at *l (E.D. Va.
Mar. 25, 2010). This standard substantially mirrors the Rule 12(b)(6) standard, the other ground
upon which Quilling bases his Motion to Dismiss. Because Dynex Capital does not dispute the
authenticity of the court documents that create the timeline of the related litigation that Quilling
submitted in support of his Motion to Dismiss, the Court may rely on these documents and the
timeline established by them in reaching its decision.

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describe the litigation history of three related cases, each filed in a state or federal court in Texas.
These actions_the Original Action, the Clapper Action, and the Fraudulent Transfer Action_
serve as a puzzle piece created by the series of events leading to Dynex Capital’s request for a
declaratory judgment in this Court. In describing the facts of this case, the Court will also
discuss the Litigation Cost Sharing Agreement, which stands at the heart of the Eastem District
of Virginia litigation. The Court concludes its discussion of the facts by describing the two
current competing actions: (l) the suit presently pending before this Court; and, (2) the inverse
of this matter that Dynex Capital removed to the United States District Court for the Northem
District of Texas and that the Northem District of Texas later remanded to a Texas state court.

A. The Original Action

The Court must begin its discussion of the facts with a brief synopsis of the related
litigation. The related litigation began twenty years ago, on April 15, 1999, when American
Realty Trust, Inc. (“ART”), Basic Capital Management, Inc., and Transcontinental Realty
Investors, Inc. (collectively, with AR'I` and Basic Capital Management, Inc., the “Judgment
Creditors”), filed a breach of contract action against Dynex Commercial, Inc. (the “Original
Action” , in the 68th Judicial District Court of Dallas County, Texas (the “Texas State Court”),
Basic Capital Management, Inc., et al. v. Dynex Commercz`al, Inc., et al., Cause No. DC-03-
00675. The Judgment Creditors later added Dynex Capital as a defendant to the Original Action.
The Judgment Creditors “sought to hold both [Dynex Commercial, Inc.] and Dynex Capital
liable for the alleged breach of a $160 million loan commitrnent,” along With other claims.
(Compl. ‘[[ 9, ECF No. l.)

Nearly five years after the Original Action commenced, a jury ruled in favor of the

Judgment Creditors. That verdict resulted in extensive post-judgment litigation that percolated

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up and down the Texas state court system for nearly a decade as the parties disputed
responsibility for paying damages4 See Basic Capital Mgmt, Inc., et al. v. Dynex Commercial,
Inc., et al., 402 S.W.3d 257 (Tex. App. 2013).

On July 20, 2015, over sixteen years after the Judgment Creditors filed the Original
Action, the Texas State Court entered final judgment in the matter. As part of the final
judgment, the Texas State Court ordered approximately $47 million in damages against Dynex
Commercial, Inc. (the “Original Action Final Judgment”). The Texas State Court did not award
damages to the Judgment Creditors against Dynex Capital, the plaintiff in the matter currently
pending before this Court.

B. The Clapper Action

Also in 1999, Art Midwest, Inc. and ART brought a separate but related lawsuit against
David Clapper, Atlantic Midwest, LLC, and Atlantic XIII, L.L.C. in a Texas federal district
court.5 Art Midwest, Inc., et al. v. Clapper, et al., No. 3:99-CV-2355-N (N.D. Tex.) (the
“Clapper Action”). Defendants counterclaimed, and the case concluded in a final judgment “in

excess of $73 million” in favor of the “Clapper Parties” as counter-plaintiffs (Compl. 1[ 15.)

 

4 Specifically, the Texas Court of Appeals reversed the Texas State Court’s judgment

that [the Judgment Creditors] take nothing from Dynex Commercial, Inc. for the
alleged breach of the $160 [m]illion [c]ommitrnent and remand[ed] for entry of
judgment against Dynex Commercial, Inc. on the jury’s verdict for damages for
breach of the $160 [m]illion [c]ommitment, for a new trial as to attomey’s fees,
and for costs and prejudgment interest and post-judgment interest in an amount to
be determined by [the Texas State Court], and otherwise affirm[ed] [the Texas
State Court’s] judgment in all other respects.”

(Mot. Dismiss Ex. l-3 the “Original Action Final Judgment” l-2; ECF No. 14-1.)

5 The parties initially filed the Clapper Action in the 14th Judicial District Court of
Dallas County, Texas. The defendants in that action later removed it to the Northem District of
Texas.

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On December l l, 2015, five months after the Texas State Court issued the Original
Action Final Judgment, the Northem District of Texas appointed Quilling as receiver “to recover
ART’s portion of the” Original Action Final Judgment. (Ia’. jj l6; see Mot. Dismiss Ex. 1-2
“Agreed Order Appointing Receiver Pursuant to Tex. Civ. Prac. & Rem. Code § 31.002,” ECF
No. l4-l .) With Quilling’s position as Receiver for ART now established, the Court returns to
the litigation in the Original Action.

C. Post-Judgment Discovel_y in the Original Action

After the Texas State Court issued the Original Action Final Judgment and after the
Northem District of Texas appointed Quilling receiver, the parties to the Original Action
engaged in post-judgment discovery. On December l, 2016, Quilling, in his capacity as
Receiver for AR'I`, filed in the Texas State Court the Receiver ’s Applicationfor Issuance of
Turnover Order, and Brief in Support, “seeking a court order for [Dynex Commercial, Inc.] to
turn over to [Quilling] all of its non-exempt property, and to appoint Michael J. Quilling as
Receiver over all of [Dynex Commercial Inc.’s] non-exempt assets.” (Mem. Supp. Mot. Dismiss
1[ 9, ECF No. 15.)

The Texas State Court granted Quilling’s request and entered an order giving Quilling
broad powers as “the appointed Receiver in this case.” (Mot. Dismiss Ex. l-l “Order Granting
Motion for Tumover” 2, ECF No. 14-1.) Additionally, it gave Quilling “the power and authority
to take possession of, maintain, operate, and/or sell all non-exempt leviable property of [Dynex
Commercial, Inc.], including, but not limited to . . . all contract rights, whether present or
future.” (Ia'.) It also granted Quilling the ability to “exercise the right, Without any obligation, to
investigate and/or prosecute claims or causes of action [he] determine[d] to be appropriate.”

(Id. 5.)

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In his Motion to Dismiss filed in this Court, Quilling asserts that post-judgment discovery
in the Texas State Court included several hearings and revealed that Dynex Commercial, Inc. and
Dynex Capital may have been engaged in fraudulent transfers to avoid the Original Action Final
Judgment. “As a result of recognizing that . . . assets . . . had all been secreted from [Dynex
Commercial, Inc.] to Dynex Capital,” the Judgment Creditors filed an additional action, the
Fraudulent Transfer Action. (Mem. Supp. Mot. Dismiss 11 10.) Because the litigation in the
Fraudulent Transfer Action resulted in the discovery of the Litigation Cost Sharing Agreement,
which forms the core of the action presently pending before the Court, the Court now turns to a
brief discussion of the Fraudulent Transfer Action.

D. ge Fraudulel_rt Transfer Action

On April 26, 2017, the Judgment Creditors filed an action in Texas State Court against
Dynex Capital and Dynex Commercial, Inc., asserting claims of alter ego, fraudulent transfer,
and related claims (the “Fraudulent Transfer Action”), Case Number 3:17-cv-01147-D. ln the
Fraudulent Transfer Action, the Judgment Creditors sought to collect the Original Action Final
Judgment. On May l, 2017, Dynex Capital and Dynex Commercial, Inc. removed the
Fraudulent Transfer Action to the Northem District of Texas.

While litigating the Fraudulent Transfer Action, the Judgment Creditors learned through
discovery that Dynex Capital and Dynex Commercial, Inc., had previously entered into a
Litigation Cost Sharing Agreement (the “Litigation Cost Sharing Agreement”). The Litigation
Cost Sharing Agreement recognized that Dynex Commercial, Inc. “has limited financial

resources and may be unable to fund certain costs associated with the [l]itigation.”6 (Compl.

 

6 Dynex Capital and Dynex Commercial, Inc. amended the Litigation Cost Sharing
Agreement three times. The amendments do not affect the Court’s decision in this matter.

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Ex. l “Litigation Cost Sharing Agreement” l, ECF No. l-l .) As part of the Litigation Cost
Sharing Agreement, the parties

agree[d] to use good faith efforts to agree on the allocation of any settlements,

claims, damage award or judgements [sic] to any plaintiff as a result of the

[l]itigation, such allocation to be based on the proportionate contribution by each

party to the amount of the settlement, claim, damage award or judgement [sic]

entered. In the absence of any agreement between [Dynex Capital] and [Dynex

Commercial, Inc.], such settlement claim or judgement [sic] will be allocated 20%

to [Dynex Capital] and 80% to [Dynex Commercial, Inc.].
(Litig. Cost Sharing Agreement l). In this case, Quilling focuses on the last sentence of this
excerpt to claim that, because the Judgment Creditors obtained a judgment against Dynex
Commercial, Inc., Dynex Capital must now pay 20% of that judgment

With this background, the Court turns now to the instant declaratory judgment action and
the competing action, which pends before the Texas State Court.

E. The Declaratorv Judgment ActioMnd the Competing Action

On May 10, 2018, Quilling, through counsel, mailed to Counsel for Dynex Capital, a
letter demanding “immediate payment to the Receiver of 20% of the present amount of the”
Original Action Final Judgment. (Compl. Ex. 2 “Demand Letter” 2, ECF No. 1-2.) In the
Demand Letter, Quilling based his claim for monetary payment on Dynex Capital’s promises set
forth in the Litigation Cost Sharing Agreement, Quilling estimated that Dynex Capital owed him
approximately $11,341,360.65. The Demand Letter stated: “If payment is not received within
ten (10) days of this letter, then the Receiver shall proceed to obtain the same via appropriate
legal process.” (Id. 2.)

Dynex Capital did not respond to the Demand Letter. Instead Dynex Capital filed the

present declaratory judgment action in this Court on May 17, 2018. In its Complaint, Dynex

Capital seeks a declaratory judgment “that Dynex Capital has no obligation to [Dynex

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Commercial, Inc.] or the Receiver under the Litigation [Cost Sharing] Agreement to pay any
portion of the” Original Action Final Judgment. (Compl. ‘|l 26(a), ECF No. l.)

On May 24, 2018, one week after Dynex Capital filed this action, Quilling filed a “'l`hird-
Party Plaintiff’s Original Petition” in the Texas State Court Original Action asserting breach of
contract claims. (Mot. Dismiss Ex. l-A “Third-Party Plaintiff’s Original Petition,” ECF No. l4-
l.) In the Third-Party Plaintiff’s Original Petition, Quilling sought to hold Dynex Capital liable
for 20% of the Original Action Final Judgment, under the Litigation Cost Sharing Agreement,
Quilling’s case before the Texas State Court is the inverse of the declaratory judgment suit
before this Court.

Quilling then filed in this Virginia federal litigation the Motion to Dismiss, which
included as one of his grounds for relief that the Court must “abate and transfer this matter to
Dallas to be combined with a competing suit under the ‘Anticipatory Suit’ rule.” (Mot. Dismiss
l.) On January 9, 2019, the Court informed parties that “[b]ased upon the Court’s review of the
Complaint in this matter, the parties’ briefing as to . . . Quilling’s[] Motion to Dismiss . . . and the
extensive litigation history of this matter, the Court may, sua sponte, transfer this matter to the
. . . Northem District of Texas.” (Jan. 9, 2019 Order l, ECF No. 21.) The Court allowed each
party to submit briefing on whether transfer was appropriate In his response brief, Quilling
noted his “consent[] to the transfer so long as all pending motions are transferred with the
action.” (Receiver Position Transfer 11 10, ECF No. 22.) Dynex Capital, on the other hand,
opposed the transfer. (Dynex Capital’s Opp’n Transfer l, ECF No. 23.)

Meanwhile, on January 29, 2019, the Northem District of Texas remanded the inverse of
this action to the Texas State Court. In response to the Northem District of Texas’s remand, on

January 31, 2019, the Court ordered “the parties to brief What effect, if any, the Northem District

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of Texas’s decision to remand the [i]nverse [s]uit has on the action presently pending before this
Court.” (Jan. 31, 2019 Order 1, ECF No. 24.) Each party filed its brief and response, and the
matter is now ripe for disposition

II. Legal Standard: Abstention from Ruling on Declaratory Judgmt Action

The Declaratory Judgment Act provides “[i]n a case of actual controversy within its
jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations
of any interested party seeking such declaration, whether or not further relief is or could be
sough .” 28 U.S.C. § 2201(a) (emphasis added). The Supreme Court of the United States has
instructed that a federal district court may utilize the discretionary standard articulated in
Brillhart to abstain from ruling on a declaratory judgment action pending before it when a
parallel action pends before a state court.7 Wilton v. Seven Falls Co. , 515 U.S. 277, 288 (1995)
(discussing throughout Brillhart v. Excess Ins. Co. of Am., 316 U.S. 491 (1942)). In affording
the district courts great discretion over declaratory judgment actions, the Supreme Court
explained:

a district court is authorized, in the sound exercise of its discretion, to stay or to

dismiss an action seeking a declaratory judgment before trial. . . . In the

declaratory judgment context, the normal principal that federal courts should

adjudicate claims within their jurisdiction yields to considerations of practicality

and wise judicial administration

Id.

 

7 In reaching this conclusion, the Supreme Court specifically rejected the higher
“exceptional circumstances” standard imposed in applying Colorado River abstention. Id. at
286. In Colorado River Water Conservation Dist. v. United States, the Supreme Court
recognized that federal courts have a “virtually unflagging obligation . . . to exercise the
jurisdiction given [to] them.” 424 U.S. 800, 817 (1976). 'l`he Colorado River court constrained
the district court’s ability to abstain from exercising discretion over a case in favor of pending
state court proceedings to only those situations involving “exceptional circumstances” Id. at
813. The Colorado River case did not concern a declaratory judgment, see generally id., and the
Supreme Court in Wilton, decided after Colorado River, rejected the contention that this higher
standard applied to actions involving only declaratory judgments, Wilton, 515 U.S. at 286.

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In Wilton, the Supreme Court recognized that “[s]ince its inception, the Declaratory
Judgment Act has been understood to confer on federal courts unique and substantial discretion
in deciding whether to declare the rights of litigants.” Id. at 286. Specifically, the Wilton court
found that “[t]he statute’s textual commitment to discretion, and the breadth of leeway we have
always understood it to suggest, distinguish the declaratory judgment context from other areas of
the law in which concepts of discretion surface.” Id. at 286-87 (citing Shapiro, Jurz'sdz‘ction and
Discretion, 60 N.Y.U. L. REV. 543 (1985); O. Flss & D. RENDLEMAN, INJUNCTIoNs 106-08 (2d
ed. 1984)). The Wilton Court characterized the Declaratory Judgment Act as “an enabling Act,
which confers a discretion on the courts rather than an absolute right upon the litigant.” Id. at
287 (quoting Public Serv. Comm ’n of Utah v. Wycoj"Co., 344 U.S. 237, 241 (1952)).

The United States Court of Appeals for the Fourth Circuit, recognizing the substantial
discretion afforded to district courts under Brz`llhart and Wilton, has found that “[t]his
discretion . . . is especially crucial When, as here, a parallel or related proceeding is pending in
state court.” New Wellington Fin. Corp. v. Flagshz`p Resort Development Corp., 416 F.3d 290,
297 (4th Cir. 2005) (citing Brillhart v. Excess Ins. Co., 316 U.S. 291 , 295 (1942)). In Riley, the
Fourth Circuit articulated the four Brillhart/Wilton factors a federal court must weigh when
deciding whether to abstain from ruling on a declaratory judgment action:

(l) whether the state has a strong interest in having the issues decided in its

courts; (2) whether the state courts could resolve the issues more efficiently than

the federal courts; (3) whether the presence of “overlapping issues of factor law”

might create unnecessary “entanglemen ” between the state and federal courts;

and (4) whether the federal action is mere “procedural fencing,” in the sense that

the action is merely the product of forum-shopping
Riley v. Dozier Internet Law, PC, 371 Fed. Appx. 399, 402 (4th Cir. 2010) (describing these four
factors as the “Kapz'lofffactors” (citing United Capitol Ins. Co. v. Kapilo]f 155 F.3d 488, 493-94

(4th cir. 1998)).

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III.

Analysis: The Court Will Abstain from Exercising Jurisdiction over Dynex Capital’s
Claim for Declarator_'y Relief Because of the Pending Suit in the Texas State Court

Quilling brings the Motion to Dismiss on three grounds: (l) that the Court lacks personal
jurisdiction over Quilling,8 (2) that the suit must be abated and transferred to the Northem
District of Texas or dismissed pursuant to the Anticipatory Suit Exception to the First-to-File

Rule,9 and (3) that Dynex Capital failed to state a claim upon which relief can be granted.

 

8 Quilling asserts that the Court lacks personal jurisdiction over him because he (l) “does
not have minimum contacts with the state of Virginia; and (2) maintaining the suit in Virginia
will offend traditional notions of fair play and substantial justice.” (Mem. Supp. Mot. Dismiss
8.) Quilling states that he has never visited Virginia and his only contact with Virginia exists as
his “filing a judgment for full faith and credit.” (Id. 9.) Quilling also retained a Virginia lawyer.
Even based on this limited contact, the Court may properly exercise personal jurisdiction over
Quilling in this action,

ln Balsly v. West Michigan Debt Collections, Inc. , the court found that personal
jurisdiction existed over a defendant when the defendant sought to domesticate a Michigan
judgment in Virginia. No. 3:1 lcv642, 2012 WL 628490, at *l, *4 (E.D. Va. Feb. 27, 2012). In
Balsly, the defendant acquired a debt Balsly owed a Virginia retailer. Id. at * l. When Balsly
stopped paying on the debt, the defendant initiated a suit in Michigan state court and obtained a
defaultjudgment against Balsly in that matter. Id. The defendant then “retained an attorney in
Virginia” and domesticated the judgment in a Virginia state court in an attempt to collect the
debt by gamishing Balsly’s wages. ld. The Balsly court found that “[u]nder Virginia law, a
party Who assumes the rights of a contract from a predecessor generally assumes the legal
position of its predecessor.” Id. at *3. Additionally, it found that the defendant “intentionally
sought the protection of Virginia’s judicial system when it domesticated the Michigan judgment
in the Virginia courts,” and that this constituted relevant contacts with Virginia for the purposes
of deciding personal jurisdiction Id. at *4 (“Because WMDC’s use of Virginia court procedures
was intentional, it ‘purposefully availed’ itself of the protections afforded in Virginia courts.”
(quoting Mitrano v. Howes, 377 F.3d 402, 407 (4th Cir. 2004)).

Here, similar to the defendant in Balsly, Quilling retained a Virginia attorney and chose
to domesticate the Texas judgment in a Virginia state court. Further, Quilling asserts that he
brought his claim “as receiver for Dynex Commercial.” (Mem. Supp. Mot. Dismiss ll.) For the
limited purpose of establishing personal jurisdiction, Quilling “stands in the shoes of” Dynex
Commercial, Inc., a Virginia entity who would be subject to this Court’s personal jurisdiction
The Court may properly exercise personal jurisdiction over Quilling. See Balsly, 2012 WL
628490 at *l, *4. Although the Court will deny the Motion to Dismiss on this ground, the Court
will ultimately dismiss this case.

9 Quilling initially asserted that the Court must dismiss Dynex Capital’s complaint under
the anticipatory suit exception to the First-to-File Rule. Because the Northem District of Texas

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The Court previously found, supra note 8, that it may properly exercise personal
jurisdiction over Quilling. Because the Northem District of Texas remanded Quilling’s action to
the Texas State Court, this Court-utilizing the standard articulated in Brillhart, reaffirmed in
Wilton, and expanded upon by the Fourth Circuit_will exercise the “substantial discretion”
afforded to it to abstain from ruling on Dynex Capital’s request for a declaratory judgment10

See Wilton, 515 U.S. at 286. Each of the four factors articulated by the Fourth Circuit in Riley

 

remanded Quilling’s suit to the Texas State Court, it appears that the First-to-File Rule no longer
applies to this matter. Victaulic Co. v. Eastern Indus. Supplies, Inc. , No: 6:13-01939, 2013 WL
6388761, at "‘2 (D.S.C. Dec. 6, 2013) (“The first-to-file rule provides that ‘when multiple suits
are filed in different Federal courts upon the same factual issue, the first or prior action is
permitted to proceed to the exclusion of another subsequently filed.”’ (emphasis added) (quoting
Allied-Gen. Nuclear Servs. v. Commonwealth Ea'ison Co., 675 F.2d 610, 611 n. l (4th Cir.
1982))).

However, the Court would likely find dismissal appropriate under the anticipatory suit
exception as well. Under the anticipatory suit exception to the first-to-file rule, a court
exercising jurisdiction over the first-filed suit may decline to exercise jurisdiction over a case if
that court finds that the plaintiff brought the matter in anticipation of the defendant filing suit.
See Learning Network, Inc. v. Discovery Commc 'ns, Inc., ll Fed. App’x 297, 301 (4th Cir.
2001); see also Tempco Elec. Heater Corp. v. Omega Engineering, Inc., 819 F.2d 746, 749 (7th
Cir. 1987). In applying this rule, courts have looked to whether the plaintiff in the first-filed suit
brought his or her claim after being put on notice through a demand letter of the opposing party’s
intention to file suit. See, e.g., Supreme Int’l. Corp. v. Anheuser-Busch, Inc., 972 F. Supp. 604,
605-06 (S.D. Fla. 1997); Factors Etc., Inc. v. Pro Arts, Inc., 579 F.2d 215, 219 (2d Cir. 1978),
abrogated on other grounds by Pirone v. MacMz'llan, Inc., 894 F.2d 579 (2d Cir. 1990). As an
extension of that principle, where the fast-filed suit seeks declaratory relief that the plaintiff
likely filed in anticipation of the later-filed action, asserting other claims, courts have allowed the
second filed suit to proceed. See, e.g., Tempco Elec. Heater Corp., 819 F.2d at 749-50.

Here, Quilling sent the Demand Letter on May 10, 2018, which clearly indicated his
intention to file suit if Dynex Capital did not respond. Rather than respond to the Demand
Letter, Dynex Capital filed its Complaint in this Courtjust one week after Quilling sent the
Demand Letter. One week after Dynex Capital filed this case and four days after he threatened
to do so if he had not received a response from Dynex Capital, Quilling filed his complaint in the
Texas State Court. In his complaint, Quilling asserts breach of contract claims. Because it
appears that Dynex Capital likely filed its Complaint here in anticipation of Quilling’s complaint
filed in the Texas State Court, the Court would likely dismiss Dynex Capital’s complaint under
the anticipatory suit exception to the first-to-file rule.

'° Although Quilling did not raise this ground in his Motion to Dismiss, both parties have
addressed the issue, (Quilling’s Resp. Jan. 31, 2019 Order 1[ 13, ECF No. 26 (citing Wilton v.
Seven Falls Co., 515 U.S. 277, 288 (1995)); Dynex Capital Resp. to Jan. 31, 2019 Order 9-11,
ECF No. 25.)

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for courts to weigh when assessing whether to abstain under the Bri[lhart/Whilton standard
support this result. Riley, 371 Fed. Appx. at 402 (citing Kapiloji§ 155 F.3d at 493-94).

A. Texas Has a Greater Interest in Adjudicating This Matter in the
was State Court

Because Texas has a “strong interest in having the issues decided in its courts[,]” the first
factor weighs in favor of abstention. Riley, 371 Fed. App’x at 402.

Regarding Texas’s interest, the related litigation has been ongoing in the state and federal
courts of Texas for two decades. Critically, in the Demand Letter, Quilling seeks payment from
Dynex Capital as partial payment of the Original Action Final Judgment, which the Texas State
Court awarded to the Judgment Creditors. If this Court were to grant Dynex Capital’s request
for a declaration that it owes nothing to Quilling and Dynex Commercial, Inc. pursuant to the
Litigation Cost Sharing Agreement, then such a ruling could affect the Judgment Creditor’s
ability to collect the Original Action Final Judgment. Similarly, if the Court were to deny Dynex
Capital’s request, then it would affect the Original Action Final Judgment by allowing the
Judgment Creditors to recover a portion of the Original Action Final Judgment Because the
outcome of this case would affect a Texas state court judgment, Texas has a substantial interest

in this matter. See c.f. Vulcan Chem. Techs., Inc. v. Barker, 297 F.3d 332, 338 (4th Cir. 2002).ll

 

ll In Vulcan Chemical Technologies, Inc., the Fourth Circuit found that under the more
stringent Colorado-River abstention doctrine the district court abused its discretion in failing to
abstain from ruling in an action seeking to vacate an arbitration award. 297 F.3d at 340. In that
case, the district court vacated an arbitration award after a California state court reached a final
judgment affirming the arbitration award. Id. at 337.

Under Colorado-River abstention, a court may abstain from ruling in a matter where a
competing state court action pends only under “exceptional circumstances” Vulcan Chem.
Techs., Inc., 297 F.3d at 340-41. The Court does not analyze whether it will exercise
jurisdiction over Dynex Capital’s request for a declaratory judgment under Colorado-River
abstention because the Supreme Court has found that the more lenient standard articulated in
Brillhart/l/Vz‘lton applies to actions in which plaintiffs seek declaratory relief. Wilton, 515 U.S. at
289.

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Although Virginia also has an interest in resolving this matter, that interest is not as
substantial as that of Texas. As Dynex Capital asserts, it is a Virginia corporation and before
Dynex Commercial, Inc. terminated its corporate existence, it too existed as a Virginia
corporation. Two Virginia entities thus entered into the Litigation Cost Sharing Agreement
Furthennore, “[t]he laws of the Commonwealth of Virginia” govern the Litigation Cost Sharing
Agreement. (Litig. Cost Sharing Agreement 2.) While this favors adjudicating this action in
Virginia, the Texas State Court can ably apply Virginia law to the dispute. In sum, Texas has a
stronger interest in adjudicating this matter than Virginia.

B. Because Resolving this Action May Result in Piecemeal Litigation in a Way
that Resolving the Action in the Texas State Court Would Not, the Texas

State Court Can More Efficiently Resolve This Matter

 

Because the Texas State Court could “more efficiently” decide this issue, the second
factor also weighs in favor of abstention, Riley, 371 Fed. App’x at 402.

To assess the second factor, courts look to elements such as the order in which the
plaintiffs filed the state and federal claims,12 whether the state or federal action has progressed
farther than the competing action, and whether adjudication of the federal declaratory judgment
suit will result in resolving the matter in a piecemeal fashion See Riley, 371 Fed. App’x at 403;

Kapilofj; 155 F.3d at 493-94.

 

12 Here, Dynex Capital filed its Complaint in this Court on May 17, 2018, one week
before Quilling filed his Third-Party Plaintiff’s Original Petition in the Texas State Court. The
parties do not dispute that this suit constitutes the first-filed suit. The Fourth Circuit has stated
that “[a]s a general rule, ‘the first suit should have priority, absent the showing of balance of
convenience in favor of the second action.” Riley, 371 Fed. App’x at 403 (quoting Ellicot Mach.
Corp. v. Modern Wela'ing Co., 502 F.3d 178, 180 n.2 (4th Cir. 1974)). Although Dynex Capital
filed this case first, because the Court finds that Dynex Capital likely filed suit in this Court as
“mere ‘procedural fencing,”’ the Court will not weigh this element of the second factor in favor
of this Court exercising jurisdiction in this matter. See id. (quoting Kapiloff, 155 F.3d at 493-
94).

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The relative progress of the two cases amounts to a neutral element of the second factor.
Although Dynex Capital removed and the Northem District of Texas subsequently remanded the
action pending before the Texas State Court, the court that originally awarded the Original
Action Final Judgment to the Judgment Creditors, that case now sits at a similar procedural
posture as the case pending before this Court. Specifically, Dynex Capital states that it has
moved to dismiss the action before the Texas State Court based on a lack of subject matter
jurisdiction Similarly, Dynex Capital’s case pending before this Court has not progressed
beyond Quilling’s Motion to Dismiss, Because both the Texas State Court action and the action
before this Court remain at similar procedural postures, this element of the second factor does
not favor one court over the other.

However, resolving the action before the Court may result in piecemeal litigation,
meaning that the second Brillhart abstention factor weighs in favor of abstention For instance,
if the Court were to deny Dynex Capital’s request for declaratory relief,13 finding that the
Litigation Cost Sharing Agreement creates an obligation for Dynex Capital to pay a portion of
the Original Action Final Judgment, Quilling may have to bring another suit to collect from
Dynex Capital. On the other hand, if the Texas State Court were to reach this result because
Quilling brought substantive breach of` contract claims, the Texas State Court could order Dynex
Capital to pay Quilling the requested amount, something this Court could not do. Because
resolving the declaratory judgment action may result in piecemeal litigation, the second factor

weighs in favor of abstention

 

13 In dismissing this action, the Court passes no judgment on Dynex Capital’s obligations
under the Litigation Cost Sharing Agreement.

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C. Because Both Actions Center on the Same Issue, Unnecessary Entanglement
May Occur Between This Court and the Texas State Court If the Court
Exercises Jurisdiction in This Matter

Because “‘overlapping issues of fact or law’ might create unnecessary ‘entanglemen ”’
between the Texas State Court and the Eastem District of Virginia, the third factor weighs in
favor of abstention Riley, 371 Fed. App’x at 402 (quoting Kapilojj”, 155 F.3d at 493-94).

In Riley, the Fourth Circuit affirmed the district court’s decision to abstain from ruling on
the plaintiffs request for declaratory relief where a pending state court action asserting
trademark infringement claims existed. Id. at 400, 405. In Riley, the Fourth Circuit found that
the outcome of both the state court action and the federal court action seeking declaratory relief
turned on the same inquiry. Id. at 403. The Fourth Circuit stated that “[e]ntanglement is all the
more likely where, as here, common issues ‘are already being litigated by the same parties in the
related state court [sic] action.”’ Id. (quoting Nautilus Ins. Co. v. Winchester Homes, Inc., 15
F.3d 371, 379 (4th Cir. 1994)).

Because, similar to Riley, the case pending before the Texas State Court and the action at
bar concern “common issues ‘. . . already being litigated by the same parties in the related state
court [sic] action,’” the third factor weighs heavily in favor of abstention Id. (quoting Nautilus
Ins. Co., 15 F.3d at 379). Here, both Quilling’s Texas State Court suit and Dynex Capital’s
declaratory judgment action involve the same parties: Quilling and Dynex Capital.

Additionally, both cases center on the same question: Dynex Capital’s obligations under the
Litigation Cost Sharing Agreement to pay a portion of the Original Action Final Judgment, In
this Virginia federal action, Dynex Capital explicitly requests that the Court declare that it has no

obligation to Quilling or to Dynex Commercial, Inc. under the Litigation Cost Sharing

Agreement. Similarly, although Quilling’s Texas State Court case brings breach of contract

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claims, it will also determine Dynex Capital’s obligations under the Litigation Cost Sharing
Agreement, If the Texas State Court and this Court reach opposite conclusions on this central
question, “unnecessary ‘entanglemen ”’ would result between the two tribunals. Id. at 403.

Having ascertained that the first three factors favor abstention, the Court turns now to the
fourth and final factor, whether it appears that Dynex Capital filed its action here as the result of
forum shopping.

D. Because Dynex Capital Appears to Have Filed This Action As the Result of
Forum Shopging, the Fourth Factor Weighs in Favor of Abstentiqg

Because Dynex Capital appears to have filed its case seeking declaratory relief in federal
court for “mere ‘procedural fencing,’” the fourth factor favors abstention Kapz'lojf 155 F.3d at
494 (quoting Nautilus, 15 F.3d at 377).

First, the timing of Dynex Capital’s actions support the finding that it likely filed its suit
in this Court as the result of “mere ‘procedural fencing.”’ Id. After twenty years of litigation in
Texas state and federal courts, Dynex Capital filed its Complaint in this Court one week after
Quilling sent the Demand Letter. Dynex Capital did not respond to the Demand Letter, which
clearly warned that “[i]f payment is not received within ten (10) days of this letter, then
[Quilling] shall proceed to obtain the same via appropriate legal process.” (Demand Letter 2.)
By these terms, Dynex Capital had until May 20, 2018, to pay Quilling the requested amount or
to respond to the Demand Letter. On May 17, 2018, three days before the deadline, Dynex
Capital filed suit in this Court rather than respond to the Demand Letter. Within four days of the
deadline and one week after Dynex Capital filed its Complaint, on May 24, 2018, Quilling filed
his complaint in the Texas State Court. This timing suggests that Dynex Capital filed suit in this

Court in anticipation of Quilling filing suit in a Texas court.

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Second, Virginia has little connection to any of the related litigation Although the
Litigation Cost Sharing Agreement identifies two cases filed in Virginia, the other three cases
pended before Texas courts. The Texas litigation included at least two multi-million-dollar
judgments, which became final only after several appeals. It also appears that litigation remains
ongoing in the Fraudulent Transfer Action, a suit currently before the Northem District of Texas
that involves Dynex Capital as a defendant Dynex Capital’s attempts to minimize the
relationship of those cases to the current litigation do not persuade.

Moreover, the Northem District of Texas’s decision to remand Quilling’s case supports
the Court’s conclusion as to forum shopping The Fourth Circuit has stated that “removal is the
appropriate avenue into federal court, and a declaratory judgment action may not be used ‘to
achiev[e] a federal hearing in a case otherwise not removable.”’ Riley, 371 Fed. App’x at 403-
04 (quoting Nautilus, 15 F.3d at 377)). Here, Dynex Capital attempted to remove Quilling’s
action to the Northem District of Texas, but that court remanded the case back to the Texas State
Court because “the removal of the third-party petition in this case does not fall into one of the
limited exceptions to the rule prohibiting removal by third-party defendants recognized in this
Circuit.” Quilling v. Dynex Capital, Inc., No. 3:18-cv-1618-K, 2019 WL 366426, at *3 (N.D.
Tex.). In deciding to remand the case to the Texas State Court, the Northem District of Texas
recognized that the case “involves a final judgment that has not been satisfied, and the state court
that entered the final judgment is both the court that has been involved in the post-collection
efforts and the court in which the third-party petition was filed.” Ia'. Dynex Capital cannot use
this declaratory judgment proceeding to gain federal court review of this matter when it may

properly be decided in the Texas State Court. See Riley, 371 Fed. Appx. at 403-04.

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Based on the events leading to Dynex Capital filing its complaint in this Court, the
timeline of the related litigation, and the minimal connection to Virginia, it appears likely that
Dynex Capital filed this case as the result of “mere ‘procedural fencing.”’ Ia'. (quoting Kapiloj§
155 F.3d at 493-94). As a result, the fourth factor also weighs in favor of abstention

IV. Conclusion

For the foregoing reasons, the Court will exercise the substantial discretion afforded to it
under the Declaratory Judgment Act to abstain from ruling on Dynex Capital’s request for
declaratory relief. The Court will grant Quilling’s Motion to Dismiss and dismiss without
prejudice Dynex Capital’s Complaint The Court will also grant the Motion to Supplement.

An appropriate Order shall issue.

/
M. Ha l.m'<'
United States istrict Judge

Date: 3/23 / 2.qu

Richmond, Virginia

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